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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



 PATRICIA THOMPSON,

                   Plaintiff,                  Civ. No. 11-1494 (KM) (MAR)

                   v.                                   ORDER

 REAL ESTATE MORTGAGE
 NETWORK, INC., et aL,

                   Defendants.



 KEVIN MCNULTY, U.S.D.J.:



       IT APPEARING that the Court flied an Opinion and Order (DE 235, 236)
 which, inter alia, denied the Defendants’ motion to compel arbitration; and

       IT FURTHER APPEARING that Defendants have filed an appeal of that
 ruling to the U.S. Court of Appeals for the Third Circuit (DE 239), which
 remains pending; and

       IT FURTHER APPEARING that Defendants moved before the Hon.
 Michael A. Hammer, U.S. Magistrate Judge, to stay all proceedings in the
 district court pending appeal (DE 244); and

       IT FURTHER APPEARING that Judge Rammer, in a well-reasoned Letter
Opinion and Order (“Op.”, DE 251), granted the motion for a stay; and

      IT FURTHER APPEARING that Plaintiff has timely objected to and
appealed Judge Hammer’s stay decision to this Court (DE 254), that
Defendants have filed a response (DE 255), and Plaintiff has filed a Reply (DE
256); and



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        IT FURTHER APPEARING that a District Court will reverse a Magistrate
 Judge’s decision on a non-dispositive motion only if it is “clearly erroneous or
 contrary to law.” Fed. R. Civ. P. 72(a); L. Civ. R. 72. 1(c)(1)(A); and

        IT FURTHER APPEARING that Judge Hammer soundly reasoned that an
 appeal of an order enforcing or denying enforcement of an arbitration
 agreement, pursuant to 9 U.S.C.      § 16, because it is a decision as to the forum
 in which proceedings will take place, serves to deprive the district court of
 jurisdiction to proceed, unless the appeal is “frivolous or forfeited”;1 and

        IT FURTHER APPEARING that Judge Hammer soundly determined that
 Defendants’ arguments, while the Court did not ultimately accept them, are not
 so “utterly lacking in merit” that the appeal could be termed frivolous;



           IT IS, this 15th day of January, 2020,

           ORDERED that the objection and appeal (DE 254) is DENIED and
 Judge Hammer’s stay order (DE 251) is AFFIRMED.




                                                 KEVIN MCNULTY
                                                 United States District Judge




        Op. at 1—2 (citing, e.g., Ehleiter a Grapetree Shores Inc., 482 F.3d 207, 215 n.6
 (3d Cir. 2007); Kim v. Dongbu Tour& Trauel Inc., 529 F. App’x. 229 (3d Cir. 2013)).

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